Case 1:23-bk-10618-VK   Doc 25 Filed 06/09/23 Entered 06/09/23 15:26:53   Desc
                         Main Document    Page 1 of 6
Case 1:23-bk-10618-VK   Doc 25 Filed 06/09/23 Entered 06/09/23 15:26:53   Desc
                         Main Document    Page 2 of 6
Case 1:23-bk-10618-VK   Doc 25 Filed 06/09/23 Entered 06/09/23 15:26:53   Desc
                         Main Document    Page 3 of 6
Case 1:23-bk-10618-VK   Doc 25 Filed 06/09/23 Entered 06/09/23 15:26:53   Desc
                         Main Document    Page 4 of 6
Case 1:23-bk-10618-VK   Doc 25 Filed 06/09/23 Entered 06/09/23 15:26:53   Desc
                         Main Document    Page 5 of 6
Case 1:23-bk-10618-VK   Doc 25 Filed 06/09/23 Entered 06/09/23 15:26:53   Desc
                         Main Document    Page 6 of 6
